                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

FRED FREEMAN, #235180,                )                         C/A No. 9:11-2113 DCN
                                      )
                       Plaintiff,     )
                                      )
            vs.                       )                                ORDER
                                      )
MS. HASELDEN, FINANCIAL ACCOUNTING; )
E.H. COOPER; LIBBY PRIESTER, BUSINESS )
OFFICE; and WARDEN HAGAN,             )
                                      )
                       Defendants.    )

         The above referenced case is before this court upon the magistrate judge's recommenda-

tion that plaintiff’s motion for summary judgment and/or for entry of a default be denied.

         This court is charged with conducting a de novo review of any portion of the magistrate

judge's report to which a specific objection is registered, and may accept, reject, or modify, in

whole or in part, the recommendations contained in that report. 28 U.S.C. § 636(b)(1).

However, absent prompt objection by a dissatisfied party, it appears that Congress did not intend

for the district court to review the factual and legal conclusions of the magistrate judge. Thomas

v Arn, 474 U.S. 140 (1985). Additionally, any party who fails to file timely, written objections

to the magistrate judge's report pursuant to 28 U.S.C. § 636(b)(1) waives the right to raise those

objections at the appellate court level. United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

cert. denied, 467 U.S. 1208 (1984 ).1         Objections to the magistrate judge’s report and

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      In Wright v. Collins, 766 F.2d 841 (4th Cir. 1985), the court held "that a pro se litigant
  must receive fair notification of the consequences of failure to object to a magistrate judge's
  report before such a procedural default will result in waiver of the right to appeal. The notice
  must be 'sufficiently understandable to one in appellant's circumstances fairly to appraise him
  of what is required.'" Id. at 846. Plaintiff was advised in a clear manner that his objections
  had to be filed within ten (10) days, and he received notice of the consequences at the
  appellate level of his failure to object to the magistrate judge's report.
recommendation were timely filed on August 28, 2012.

       A de novo review of the record indicates that the magistrate judge's report accurately

summarizes this case and the applicable law. Accordingly, the magistrate judge’s Report and

Recommendation is AFFIRMED, and plaintiff’s motion for summary judgment and/or for a

default is DENIED.

       AND IT IS SO ORDERED.



                                                    David C. Norton
                                                    United States District Judge

September 7, 2012
Charleston, South Carolina


                             NOTICE OF RIGHT TO APPEAL
       The parties are hereby notified that any right to appeal this Order is governed by Rules
3 and 4 of the Federal Rules of Appellate Procedure
